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                  IN THE UNITED STATES DISTRICT COURT

                       FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                  Plaintiff,
      vs.                                  Case No. 06-40057-01-RDR

JULIAN ROCHA,

                  Defendant.


                            MEMORANDUM AND ORDER

      This matter is presently before the court upon the following

motions filed by the defendant Julian Rocha:           (1) to suppress; (2)

to   suppress    evidence     seized   from   cellular      phones;     and    for

discovery.      The court has held several hearings on these motions

and is now prepared to rule.

      The charges arise from a traffic stop on November 12, 2005.

The defendant is charged with conspiracy to possess with intent to

distribute cocaine in violation of 21 U.S.C. § 846 and possession

with intent to distribute cocaine in violation of 21 U.S.C. §

841(a)(1).

MOTION TO SUPPRESS

      The defendant contends that the evidence seized during the

stop should be suppressed because the law enforcement officer did

not have reasonable suspicion to justify a stop for a traffic

violation.       During   the    various   hearings    in      this   case,    the

government presented the testimony of several law enforcement
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officers who were either involved in the traffic stop or the

matters that occurred after the stop.            The defendant offered the

testimony of John Glennon, an expert witness.                   Having carefully

considered    the   evidence     presented,     the    court     now      makes     the

following findings of fact and conclusions of law.

Findings of Fact

     On November 12, 2005, Tracey Trammel, a deputy with the

Shawnee County Sheriff’s Office (SCSO), was patrolling Interstate

70 near Topeka, Kansas.          Deputy Trammel is an experienced law

enforcement officer.     He has been with the SCSO since March 1997.

He has extensive training in drug interdiction.

     At    approximately      2:19    p.m.,   Deputy    Trammel          observed     a

recreational vehicle (RV) traveling east cross the fog line three

times. This observation was made on I-70 about three miles west of

Topeka.    On the last occasion, he noticed that the RV was roughly

two feet outside the fog line.           The weather conditions were cool

with a breezy to gusty wind.          Deputy Trammel observed other large

vehicles at the same time and did not find that any of them were

having    difficulty   staying       within   their   lane      of     travel.      He

testified that he takes all factors into account, including road

and weather conditions as well as the vehicle in question, when

deciding whether to stop a vehicle for failure to maintain a single

lane of travel.     The roadway was dry and it was a clear, sunny day.

     The defendant presented records from the National Climatic


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Data Center of the United States Department of Commerce for Topeka,

Kansas showing a wind speed of 23 knots per hour at 1:53 p.m. on

November 12th with gusts to 36 knots per hour.             The wind speed at

2:53 p.m. was 17 knots per hour with gusts again to 35 knots per

hour.     The surface weather observations are identified in the data

by the nearest city and by latitude and longitude.               There was no

testimony identifying the specific distance between the weather

station and location of the traffic stop.           The hourly wind speeds

appearing in the data are measured in knots.            The website for the

National Climatic Data Center gives a conversion table of 1 knot

equal to 1.1515 miles.        Accordingly, the wind speed in miles per

hour would be approximately 26 miles per hour with gusts to

approximately 41 miles per hour at 1:53 p.m., about thirty minutes

prior to the traffic stop.        The wind had lessened slightly at 2:53

p.m., about thirty minutes after the stop.             The wind was blowing

then at about 20 miles per hour with gusts at approximately 40

miles per hour.

        Deputy Trammel believed that the driver of the RV might be

impaired or tired.       He turned on his emergency lights.         The RV was

slow to pull over, traveling approximately 3/4 mile before stopping

on   an   exit   ramp.     This   initially    aroused     Deputy    Trammel’s

suspicion, but he did not believe that the RV was attempting to

flee.     He made no use of his siren prior to the stop.            The RV was

a 2005 Tioga.     It measured 23 feet in length.


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        Deputy Trammel made contact with the driver. He asked for his

driver’s license, registration and proof of insurance.             The driver

told Deputy Trammel that he did not have a driver’s license.                 He

said he was driving because his brother-in-law had gotten tired.

Deputy Trammel noticed that the driver appeared very nervous.

Deputy Trammel admitted, however, that this condition is not

unusual for people he stops for traffic violations. He noted there

were three other passengers in the RV, a man, a woman and a small

baby.

        The driver eventually produced a rental agreement and proof of

insurance.        He    also   subsequently      produced     a    California

identification card.       The card identified the driver as Gerardo

Gaxiola. The rental agreement indicated that the lessee was Julian

Rocha. The rental agreement showed the rental dates as November 9,

2005 to November 21, 2005.

        Deputy Trammel had a brief conversation with Gaxiola. Gaxiola

said they were traveling to St. Louis for Thanksgiving to see his

cousin.      He further indicated that he did not know where his

cousin, Mary, lived in St. Louis.             Deputy Trammel found the

following suspicious:      (1) Gaxiola did not know where his cousin

lived in St. Louis; and (2) the rental agreement provided for a

return date prior to Thanksgiving.

        Deputy Trammel obtained driver’s licenses from the other

adults in the RV.      One of the passengers was Erika Rocha, the wife


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of the driver.      The other passenger was Julian Rocha, the driver’s

brother-in-law. Erika told Deputy Trammel that they were traveling

to St. Louis to see his husband’s cousin, Maria.                           She further

stated    that    they   did   not   fly       because   there      were    no   flights

available.       Deputy Trammel again found this explanation suspicious

because of the availability of numerous flights around holidays.

Deputy Trammel then talked with Julian. He said that he had rented

the RV because he was the only one with a credit card.

      Deputy Trammel ran various checks on the individuals in the

RV.   He found nothing on the Rochas.                He, however, was informed

that Gaxiola had a warrant in California.                     He waited for his

dispatcher to confirm the warrant.

      After learning about the warrant, Deputy Trammel returned to

talk with Gaxiola.        He asked additional questions.                   Gaxiola told

him that he had only been arrested once, for driving under the

influence.

      Deputy Trammel subsequently learned that the warrant had not

been confirmed by California.              He then went back to talk with

Gaxiola. He returned all of the documents he had received and gave

Gaxiola a warning ticket for failure to maintain a single lane of

travel.    He told Gaxiola “thank you” and proceeded to step aside.

He then asked Gaxiola if he could ask him some more questions.

Gaxiola agreed to talk with him.               He asked him if he had any drugs

or contraband.       Gaxiola responded in the negative.                He then asked


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Gaxiola if he could search the RV.       Gaxiola said he could.          Deputy

Trammel then asked the other passengers if he could search the RV.

Erika and Julian agreed to the search.           At the time all of the

passengers consented to the search, Deputy Trammel was in full

uniform and was wearing a firearm.         Deputy Trammel had previously

requested some back-up officers.         They had arrived on the scene

prior to the consents to search.        The other officers were dressed

similarly.     The officers made no showing of force during the

questioning.   Deputy Trammel questioned all of the passengers in a

normal tone of voice.   He noted that none of the passengers had any

trouble speaking or understanding English.

     The passengers, including the baby, left the RV.                    Erika,

Julian and the baby sat in one of the officer’s vehicles.                Deputy

Trammel noted that Gaxiola remained nervous during the search of

the RV.

     The officers began searching the RV.         They discovered an ice

chest that was sitting between the front seats of the RV.                     They

opened the lid and noticed the presence of glue.             They took the ice

chest apart and discovered what appeared to be bundles of cocaine.

The substance was field tested and was positive for cocaine.                  The

cocaine weighed 27.05 pounds.     At 2:59 p.m., the officers arrested

the passengers and had the RV towed.

     The officers found four cell phones during their search.

Julian had a blue cell phone on his person.             Erika appeared to


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possess a black cell phone as it was found in her purse.                  There

were two more found in a black garment bag in the RV.                  Deputy

Trammel noted that it was quite common for drug smugglers to have

cell phones.   He stated that they are used to control the delivery

of the drugs and to determine the location of the individuals

possessing the drugs.

     The stop was videotaped by a camera positioned in Deputy

Trammel’s vehicle. Although the camera is purportedly started when

the emergency lights are activated, the videotape begins when the

RV is already stopped.

     David Jones, a detective with the Platte County Sheriff’s

Department who has been assigned to the Drug Enforcement Agency

(DEA) task force, arrived at the Shawnee County Jail at 5:20 p.m.

to interview the passengers of the RV.        He talked with Erika Rocha

and Gaxiola, who provided statements.        Erika Rocha told Detective

Jones that the black garment bag found in the RV that contained two

cell phones belonged to her husband, the defendant.            Julian Rocha

invoked his privilege to remain silent and did not provide a

statement.

     Detective   Jones    examined   the    cell   phones    that   had     been

discovered during the search of the passengers and the RV.             He did

so without a search warrant.      He recovered contact lists, numbers

dialed and recent calls from each of the phones. He indicated that

he recovered no other information from the phones.


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        Brian Smith, a trooper with the Kansas Highway Patrol who also

was assigned to the DEA task force, arrived at the Shawnee County

Sheriff’s Office at mid-afternoon on November 12th.                 He began

downloading the information from the cell phones seized at the

traffic stop prior to 5:00 p.m.            He did so without a search

warrant.     At that time, the defendants were in custody and had no

access to the phones.

        Glennon, a forensic automobile technologist, offered testimony

about the intended use of a single white line as a fog line, the

purposes of a road shoulder, and some of the circumstances for

lawfully crossing a fog line and encroaching upon the shoulder. He

noted the following as variables that can influence a driver’s

ability to maintain a single lane of travel:          (1) road conditions

including slopes and irregularities; (2) type of vehicle including

size, height, center of gravity; (3) the abilities of the driver;

(4) the weather, but primarily the wind; (5) the terrain including

hills, valleys and trees; and (6) the actions of other drivers.

Glennon went to the area where the traffic stop occurred and

videotaped various vehicles as they drove east on I-70.              He noted

that almost all of the vehicles, including several that were

similar to the RV involved in this case, touched and crossed the

fog line on several occasions.      He found that eight of the eleven

vehicles encroached on the shoulder at some time as he followed

them.    The wind on the day that he videotaped was only five to ten


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miles per hour.    He opined that strong winds affect the travel of

vehicles, particularly RVs.      He suggested that all vehicles would

probably deviate from their lane when winds reach 45 miles per

hour.    Glennon recognized that the wind on November 12th was from

the south and would ordinarily push a vehicle traveling east on I-

70 away from the fog line.          He noted, however, that in such

circumstances, drivers will counter steer to prevent their vehicles

from being pushed in the direction of the wind.              Such action will

cause the vehicles to weave about their lane of travel and make it

difficult for them to stay in one lane.          Glennon also noted that

the particular chassis that this RV rests upon is known for poor

stability.

        Deputy Trammel watched the videotape shot by Glennon and

agreed that several of the vehicles had drifted across the fog

line.    He noted that he probably would have followed several for a

longer period of time to determine if they continued to cross the

fog line.    He reiterated that he attempts to assess all factors,

including road and weather conditions, before he decides to stop a

vehicle for failure to maintain a single lane of travel.                     He

acknowledged that the sight of a law enforcement vehicle in the

rearview mirror can cause a driver to proceed erratically.                   He

again stated that on the day of the traffic stop he did not notice

other vehicles having significant problems maintaining a single

lane of travel.


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Conclusions of Law

     A traffic stop is a seizure under the Fourth Amendment.

United States v. Taverna, 348 F.3d 873, 877 (10th Cir. 2003).               To

lawfully initiate a traffic stop, “the detaining officer must have

an objectively reasonable articulable suspicion that a traffic

violation has occurred or is occurring.”          United States v. Soto,

988 F.2d 1548, 1554 (10th Cir. 1993).      Thus, the constitutionality

of an initial stop depends upon whether the detaining officer “had

reasonable suspicion that this particular motorist violated any one

of the multitude of applicable traffic and equipment regulations of

the jurisdiction.”     United States v. Botero-Ospina, 71 F.3d 783,

787 (10th Cir. 1995) (en banc) (internal quotation marks omitted).

     The defendant contends that Deputy Trammel lacked reasonable

suspicion to stop the RV for violating K.S.A. 8-1522(a)1, which

provides as follows:

     [w]henever any roadway has been divided into two (2) or
     more clearly marked lanes for traffic, .... [a] vehicle
     shall be driven as nearly as practicable entirely within
     a single lane and shall not be moved from such lane until
     the driver has first ascertained that such movement can
     be made with safety.

     An officer’s observation of a vehicle straying out of its lane

multiple times over a short distance creates reasonable suspicion

that the driver violated K.S.A. § 8-1522(a) so long as the strays



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       Although the defendant was a passenger in the RV, he has
standing to object to the stop. United States v. Erwin, 875 F.2d
268, 270 (10th Cir. 1989).

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could not be explained by “adverse physical conditions” such as the

state of the road, the weather, or the conduct of law enforcement.

United States v. Ozbirn, 189 F.3d 1194, 1198 (10th Cir. 1999). See,

e.g., United States v. Cline, 349 F.3d 1276, 1287 (10th Cir. 2003);

United States v. Zabalza, 346 F.3d 1255, 1258-59 (10th Cir. 2003).

Implicit in these decisions is the notion that when a vehicle

repeatedly crosses out of its lane without apparent justification,

an officer may reasonably suspect that the driver did not purposely

move out of the lane and, thereby, failed to first ascertain that

one or more of those departures could be “made with safety,” in

violation of K.S.A. § 8-1522(a).

     The defendant does not dispute that Deputy Trammel saw the RV

move from its lane and onto the shoulder of the road three times.

Instead,   he   suggests     that   Deputy   Trammel     lacked    reasonable

suspicion to stop the vehicle in which he was riding for a

violation of K.S.A. 8-1522(a).        He argues there are four factors

that preclude a finding of reasonable suspicion: (1) the intensity

of the wind; (2) the nature and size of the RV; (3) the deviation

from the lane of travel was minor; and (4) the RV crossed the fog

line, not the center line.

     Having carefully reviewed the totality of the circumstances,

the court is not persuaded that Deputy Trammel lacked reasonable

suspicion to stop the RV for a violation of K.S.A. 8-1522(a).                 The

evidence is undisputed that the RV crossed the fog line on three


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occasions in a short distance.             The court does not find this

deviation from the lane of travel to be minor as suggested by the

defendant.      The court also does not find that the combination of

the wind and the type of vehicle preclude a finding of reasonable

suspicion.      There is little question that there was significant

wind on the day of the stop.               The records from the National

Climatic Data Center, as well as the videotape of the stop, support

this finding.     Moreover, the combination of the size of the RV and

the gusting winds might have made it more difficult for Gaxiola to

keep the truck from drifting occasionally onto the fog line.

However,    Deputy   Trammel    testified     that   he   observed       no   other

vehicles, including those similar to the RV, move as erratically as

the RV did.     The court found this testimony credible.               The court’s

role is not to decide whether the facts are sufficient to sustain

a conviction under K.S.A. 8-1522(a), but to determine whether they

are adequate to form an objectively reasonable suspicion that the

RV was operated in violation of this statute.                    The reasonable

suspicion analysis is not a license to conduct unrealistic second-

guessing of police officers or to ignore the appropriate deference

due   trained    officers.      The   court    believes        that,    under   the

circumstances as indicated during the testimony provided at the

hearing, Deputy Trammel had objectively reasonable suspicion that

K.S.A. 8-1522(a) had been violated.          Given this finding, the court

holds that the initial stop of the RV was justified and reasonable.


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Accordingly, the defendant’s motion to suppress must be denied.

MOTION TO SUPPRESS EVIDENCE SEIZED FROM CELLULAR PHONES

     The defendant seeks to suppress the evidence that was seized

from the cellular phones because law enforcement officers retrieved

information from them without a search warrant in violation of the

Fourth Amendment.     He also suggests that the retrieval of numbers

from the phones violated the Electronic Communications Privacy Act

(ECPA).

     The government initially contends that the defendant lacks

standing to contest the search of the cell phones other than the one

that was on his person at the time of his arrest.             The government

further argues that the subsequent recovery of data from the cell

phones did not violate the defendant’s Fourth Amendment rights.

Finally, the government asserts that the defendant’s alternative

argument lacks merit because the ECPA does not apply here.

     “It   is   the   defendant’s   burden    to    establish    standing     to

challenge a fourth amendment violation.”           United States v. Dewitt,

946 F.2d 1497, 1499-1500 (10th Cir. 1991), cert. denied, 502 U.S.

1118 (1992).    “A defendant may not challenge an allegedly unlawful

search or seizure unless he demonstrates that his own constitutional

rights have been violated,” and in the context of a search, “the

defendant must show that he had a subjective expectation of privacy

in the premises searched and that society is prepared to recognize

that expectation as reasonable.” United States v. Higgins, 282 F.3d


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1261, 1270 (10th Cir. 2002).         He must prove a possessory interest or

control of the cellular telephone that is lawful and legitimate.

United States v. Valdez Hocker, 333 F.3d 1206, 1209 (10th Cir.

2003).     The issue is resolved by considering whether the defendant

asserted an ownership interest over the item, whether the defendant

has   testified     to   an   expectation        of    privacy,        and   whether    the

defendant has come forward with other evidence in proof of a lawful

and legitimate interest in the item.                  Id.

      Based upon the evidence presented during the hearing, the court

finds that the defendant has standing to contest the searches of the

cell phone found on his person and the cell phones found in the

black     garment   bag.      Evidence      was   presented         showing     that    the

defendant had control over these cell phones.                      The court finds no

such evidence concerning the fourth cell phone.                        Accordingly, the

defendant lacks standing to contest the search of that phone.

      Having     carefully       considered      the    arguments       raised   by     the

defendant, the court finds that the seizure of the information from

the aforementioned cell phones by law enforcement did not violate

the Fourth Amendment. The court finds that the automobile exception

to the Fourth Amendment would allow retrieval of information from

the   cell    phones.      See     United    States         v.   Fierros-Alvarez,       547

F.Supp.2d 1206, 1213-14 (D.Kan. 2008).                       Because probable cause

existed to believe that evidence of a crime would be found in the

cell phone information, the automobile exception allows the search


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of the cell phones just as it allows a search of other closed

containers found in vehicles.        Id.     Accordingly, this aspect of the

defendant’s motion shall be denied.

     The court will also deny the portion of the defendant’s motion

based upon the ECPA.          The court finds no violation of the ECPA

because no evidence was presented that law enforcement intercepted

any electronic communications.          United States v. Mercado-Nava, 486

F.Supp.2d   1271,   1279      (D.Kan.   2007).      Moreover,     even    if    the

government violated the ECPA, suppression is not an appropriate

remedy.     Fierros-Alvarez, 547 F.Supp.2d at 1214.                In sum, the

defendant’s motion to suppress evidence seized from the cellular

phones is hereby denied.

MOTION FOR DISCOVERY

     The defendant seeks an order directing the government to

provide the following items of discovery:                (1) Deputy Mitchell

Johnson’s report; and (2) copies of the videotapes of the interviews

with the Rochas and Gaxiola.       The defendant asserts these materials

are discoverable under Fed.R.Crim.P. 16 and Brady v. Maryland, 373

U.S. 1194 (1963).

     Prior to the hearing, the government indicated that it had

provided a copy of Deputy Johnson’s report to the defendant. At the

first hearing in this case, the government stated that it had

produced the videotapes and other reports requested by the defendant

concerning the interviews of the Rochas and Gaxiola.                     With the


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government’s responses, the court shall deny this motion as moot.

     IT IS THEREFORE ORDERED that defendant’s motion to suppress

(Doc. # 15) be hereby denied.

     IT IS FURTHER ORDERED that defendant’s motion to suppress

evidence seized from cellular phones (Doc. # 16) be hereby denied.

     IT IS FURTHER ORDERED that defendant’s motion for discovery

(Doc. # 17) be hereby denied as moot.

IT IS SO ORDERED.

     Dated this 2nd day of October, 2008 at Topeka, Kansas.



                                  s/Richard D. Rogers
                                  United States District Judge




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